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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:18-cv-1462-WJM-KLM

  JOHN DOE,
               Plaintiff,
         v.

  THE BOARD OF REGENTS FOR THE UNIVERSITY OF COLORADO, and,

  PHILIP DiSTEFANO, Chancellor for the University of Colorado Boulder, in his official
  capacity,
               Defendants.



         PLAINTIFF’S MOTION FOR THE RECUSAL OF MAGISTRATE JUDGE MIX

  COMES NOW the plaintiff, John Doe, by and through his attorneys, Lawrence S. Mertes

  P.C., and respectfully submits his Motion for the Recusal of Magistrate Judge Mix.

                                       I.    DUTY TO CONFER

        1.     On October 29, 2018, undersigned counsel conferred with counsel for the

  defendants prior to the parties’ scheduling conference regarding Judge Mix’s status as

  an active faculty/adjunct law professor at the University of Colorado. Counsel for the

  defendants was also present when undersigned counsel confirmed this on the record.

                                 II.        STATEMENT OF FACTS

        2.     On June 12th, 2018, Plaintiff John Doe filed the above-captioned complaint

  and other accompanying documents.

        3.     That same day, this case was assigned to Judge William J. Martinez and

  referred to Magistrate Judge Kristen L. Mix.

        4.     Judge Mix is an adjunct professor on the staff of the University of


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  Colorado School of Law, which is under the supervision of both defendants. She

  currently teaches Motions Advocacy.

           5.      There are currently at least five pending lawsuits in the District of Colorado

  against the University of Colorado which involve their Title IX office, four of which have

  plaintiffs alleging a lack of due process in their disciplinary code. i

           6.      In the two most recent cases, the University has released statements to

  the effect that their Title IX process is fair and unbiased and they strongly disagree with

  the plaintiff’s assertions. ii,iii

                                       III.     LEGAL AUTHORITY

           7.      Section 455(a) of Title 28 of the United States Code states that “Any

  justice, judge, or magistrate judge of the United States shall disqualify himself in any

  proceeding in which his impartiality might reasonably be questioned.”

           8.      A trial judge must recuse himself when there is an appearance of bias,

  regardless of whether there is actual bias. Nicholas v. Alley, 71 F.3d 347, 350 (10th Cir.

  1995).

           9.      The test is whether a reasonable person, knowing all relevant facts, would

  harbor doubts about the judge’s impartiality. Hinman v. Rogers, 831 F.2d 937, 939 (10th

  Cir. 1987).

           10.     A judge does not need to actually be biased in order to recuse herself.

  “What matters is not the reality of bias or prejudice but its appearance.” Liteky v. U.S.,

  510 U.S. 540, 548 (1994).

                                              IV.   ARGUMENT

           11.     In this case Plaintiff John Doe is suing Defendants for violating his civil



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  rights, among other allegations. These violations stem from University policy that is

  applicable to all students and faculty, including Judge Mix in her capacity as an adjunct

  professor.

         12.    As an adjunct professor, Judge Mix is subject to the University’s Office of

  Institutional Equity and Compliance Process and Procedures. (“The Resolution

  Procedures govern all students, faculty, staff, contractors, patients, volunteers, affiliated

  entities and other third parties.”) OIEC Resolution Procedures 2018-2019,

  https://www.colorado.edu/institutionalequity/sites/default/files/attached-

  files/oiec_resolution_procedures_2018-19_updated_format.pdf

         13.    It is an earlier version of these procedures that Plaintiff John Doe is

  alleging as violating his civil rights. The earlier versions also have language which

  subjects students, faculty, staff, contractors, patients, volunteers, affiliated entities, and

  other third parties to the code.

         14.    The statements released by the University regarding the pending lawsuits,

  while expected, also reflect the official position of Judge Mix’s direct supervisors at the

  University of Colorado.

         15.    Judge Mix’s employers are the defendants in this lawsuit. As discussed in

  the parties’ scheduling conference, one of Judge Mix’s obligations as an assigned

  Magistrate Judge would be to assess the need for a Magistrate-led settlement

  conference. If such a request was granted to conduct such a settlement conference

  herself, this would directly involve Judge Mix in the politics and policies of her direct

  supervisors in a matter of significant national interest and concern.

         16.    Because of her relationship with the University and the fact that she is



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  subject to the conduct code in question, a reasonable person could conclude that there

  is at least an appearance of bias on the part of Judge Mix.

                                      V.     PRAYER FOR RELIEF

          17.     For the above-mentioned reasons, Plaintiff John Doe respectfully requests

  that Judge Mix recuse herself from this case.


                      Respectfully submitted this 2nd day of November, 2018

                                           /s/    Lawrence S. Mertes
                                                  Lawrence S. Mertes, P.C.
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                                                  Boulder, CO 80302-4824
                                                  Telephone: 303-440-0123
                                                  Facsimile: 303-449-2656
                                                  Email: Larry@merteslaw.com
                                                  Counsel for Plaintiff

                                     CERTIFICATE OF SERVICE

  I hereby certify that on November 2, 2018, I electronically filed the foregoing PLAINTIFF’S

  MOTION FOR THE RECUSAL OF MAGISTRATE JUDGE MIX with the Court, thus

  causing service upon the following counsel of record:


  Erica Weston
  Office of University Counsel
  1800 Grant Street, Suite 700
  Denver, CO 80208
  Tel: 303-860-5691
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  Erica.Weston@cu.edu
  Attorney for Defendant

                                                  /s/       Lawrence S. Mertes


  iThe four disciplinary cases are 16cv1789, 18cv1462, 18cv2243, and 18cv0658
  ii"We strongly disagree with the representations made by Mr. Norris and his attorney. Mr. Norris was
  treated equitably. The Office of Institutional Equity and Compliance (OIEC), which investigates and
  determines the outcomes of these cases, followed the appropriate procedures and conducted an


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  unbiased investigation." (https://www.westword.com/news/william-norris-sues-cu-boulder-after-being-
  acquitted-of-sexual-assault-10729759)
  iii Our Title IX process is fair, impartial, unbiased and respects the due process rights of all students

  regardless of gender." (https://www.westword.com/news/william-norris-sues-cu-boulder-after-being-
  acquitted-of-sexual-assault-10729759)




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